Case 2:03-Cv-02577-.]PI\/|-tmp Document 25 Filed 05/25/05 Page 1 of 2 Page|D 53

   
 
  

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im w a
MICHAEL D. wILLIAMS, JR. JUDGMENT IN A CIVEH t SE
and KRYSTAL L. wILLIAMS,
vs
ALLSTATE INSURANCE cOMPANY. cAsE No= 03-2577 Ml/P

 

This matter having been Settled by the parties:

IT IS SO ORDERED AND ADJUDGED that, in accordance with the ConSent
Order of Dismiesal With Prejudice filed May‘lzq , 2005, this case
is DISMISSED With prejudice. Each party Shall bear their own
discretionary coStS; court costs are taxed against the Defendant
Allstate Insurance Company.

APPROVED :

MWOM

JO PHIPPS MCCALLA
UN TED STATES DISTRICT COURT

21 2003

Dat Clerk of Court

 

 

y) Deputy Clerk

   
 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
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June 6, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

